 1   BRIAN M. BOYNTON
 2   Principal Deputy Assistant Attorney General

 3   BRAD P. ROSENBERG
     Assistant Director
 4
 5   JOSEPH J. DEMOTT (Va. Bar #93981)
     KEVIN J. WYNOSKY
 6   Trial Attorneys
 7   United States Department of Justice
     Civil Division, Federal Programs Branch
 8   1100 L Street NW
 9   Washington, DC 20005
     Phone: (202) 514-3367
10   Email: joseph.demott@usdoj.gov
11   Attorneys for Defendants
12
13                        IN THE UNITED STATES DISTRICT COURT

14                                 FOR THE DISTRICT OF ARIZONA

15
16   Mark Brnovich et al.,
                                                        No. 2:21-cv-01568-MTL
17                              Plaintiffs,

18             vs.
                                                        NOTICE OF APPEAL
19
     Joseph R Biden, et al.,
20
                                Defendants.
21
22
23
24
25
26
27
28
 1          Notice is hereby given that the Federal Defendants1 hereby appeal to the United
 2   States Court of Appeals for the Ninth Circuit from this Court’s Judgment of February 10,
 3   2022 (ECF No. 166). This appeal includes all prior orders and decisions that merge into the
 4   Court’s Judgment of February 10, 2022.
 5
     Respectfully submitted this 8th day of April, 2022.
 6
 7                                              BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney General
 8
 9                                              BRAD P. ROSENBERG
                                                Assistant Director
10
11          1  The “Federal Defendants” are the United States of America; President Joseph Biden;
12   the United States Department of Homeland Security; the United States Office of Personnel
     Management; the General Services Administration; the Safer Federal Workforce Task Force;
13   the United States Office of Management and Budget; the Centers for Disease Control and
     Prevention; the Federal Acquisition Regulatory Council; the United States Department of
14   Justice; Alejandro Mayorkas, in his official capacity as Secretary of Homeland Security; Troy
     Miller, in his official capacity as Senior Official Performing the Duties of the Commissioner
15   of U.S. Customs and Border Protection; Tae Johnson, in his official capacity as Senior Official
     Performing the Duties of Director of U.S. Immigration and Customs Enforcement; Ur
16   Jaddou, in her official capacity as Director of the United States Citizenship and Immigration
     Services; Kiran Ahuja, in her official capacity as Director of the Office of Personnel
17   Management and co-chair of the Safer Federal Workforce Task Force; Robin Carnahan, in her
     official capacity as Administrator of the General Services Administration and co-chair of the
18   Safer Federal Workforce Task Force; Shalanda Young, in her official capacity as Acting
     Director of the Office of Management and Budget and member of the Safer Federal
19   Workforce Task Force; Jeffrey Zients, in his official capacity as COVID-19 Response
     Coordinator and co-chair of the Safer Federal Workforce Task Force; L. Eric Patterson, in his
20   official capacity as Director of the Federal Protective Service and member of the Safer Federal
     Workforce Task Force; James Murray, in his official capacity as Director of the United States
21   Secret Service and member of the Safer Federal Workforce Task Force; Deanne Criswell, in
     her official capacity as Director of the Federal Emergency Management Agency and member
22   of the Safer Federal Workforce Task Force; Rochelle Walensky, in her official capacity as
     Director of the Centers for Disease Control and Prevention and member of the Safer Federal
23   Workforce Task Force; Mathew Blum, in his official capacity as Chair of the Federal
     Acquisition Regulatory Council and Acting Administrator of the Office of Federal
24   Procurement Policy; Lesley Field, in her official capacity as a member of the Federal
     Acquisition Regulatory Council and Acting Administrator for Federal Procurement at the
25   Office of Federal Procurement Policy; Karla Jackson, in her official capacity as a member of
     the Federal Acquisition Regulatory Council and Assistant Administrator for Procurement at
26   the National Aeronautics and Space Administration; Jeffrey Koses, in his official capacity as a
     member of the Federal Acquisition Regulatory Council and Senior Procurement Executive at
27   the General Services Administration; John Tenaglia, in his official capacity as a member of the
     Federal Acquisition Regulatory Council and Principal Director of Defense Pricing and
28   Contracting at the Department of Defense; and Merrick Garland, in his official capacity as
     Attorney General of the United States.

                                                    2
 1
     /s/ Joseph J. DeMott
 2   JOSEPH J. DEMOTT (Va. Bar #93981)
     KEVIN J. WYNOSKY
 3   Trial Attorneys
 4   United States Department of Justice
     Civil Division, Federal Programs Branch
 5   1100 L Street NW
 6   Washington, DC 20005
     Phone: (202) 514-3367
 7   Email: joseph.demott@usdoj.gov
 8
     Attorneys for Defendants
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


        3
